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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                      Alexandra Poolos                                 )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No.
                                                                       )
 Paramount Global, CBS Broadcasting, Inc. and CBS                      )
                    News, Inc.                                         )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CBS Broadcasting, Inc.
                                           555 West 57th Street, 9th Floor
                                           NY NY 10019




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jeremiah Iadevaia
                                           Vladeck Raskin Clark PC
                                           111 Broadway Ste 1505
                                           New York NY 10006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             10/11/2023                                                                       /s/ J. Gonzalez
                                                                                            Signature of Clerk or Deputy Clerk
